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Honorable Stuart M. Bernstein
U.S. Bankruptcy Court for the Southern District of New York
One Bowling Green
New York, New York 10004

           Re: LaMonica v. Tilton, et al., Adv. Pro. No. 18-01021-smb

Dear Judge Bernstein:

        We represent the Defendants in the above-referenced action. We submit this letter brief
in response to Plaintiff’s letter brief dated June 28, 2018 (the “Trustee’s Letter” or the “Letter”). 1

        In his Letter, the Trustee contends that “Tilton” may not argue she lacked discretion to
waive interest payments due from the Debtors (“TransCare”), given her successful arguments in
Matter of Lynn Tilton, et al., SEC release No. 1182, 2017 WL 4297256 (Sept. 27, 2017) (the
“ALJ Proceeding”). 2 (Trustee’s Letter at 4). In so doing, the Trustee misreads and
misapprehends Defendants’ motion to dismiss, and continues to improperly conflate the fourteen
(14) separate Defendants named in this action.

       By way of background, the ALJ Proceeding was commenced on March 30, 2015 when
the SEC filed an “Order Instituting Proceedings” against Ms. Tilton as well as Patriarch Partners,
LLC, Patriarch Partners VIII, LLC, Patriarch Partners, XIV, LLC and Patriarch Partners XV,
LLC (collectively, the “Collateral Managers”) alleging certain violations of the Investment
Advisors Act of 1940 and the Investment Company Act of 1940 in connection with certain
disclosures regarding secured loans made by investment funds known as the “Zohar Funds.”
Among other things, the SEC alleged that in their reports to Zohar Fund investors the Collateral
Managers (which are owned and controlled by Ms. Tilton, and for which she served as Manager)
mis-categorized loans as “performing” loans where full stated interest payments had not been
made by the borrowers, rather than categorizing them as “defaulted.” In defending against the
SEC’s complaint, Ms. Tilton and the Collateral Managers argued that they had discretion in
making these categorizations and that the fund indentures gave them broad authority to amend or
modify the terms of Zohar Fund loans and waive and defer interest such that the loans were not
in default. Moreover, they argued the investors in the Zohar Funds could readily see in the

1
 Capitalized terms used but not defined herein have the meaning given to them in Defendants’ Motion to Dismiss
[Dkt. No. 11].
2
  While it is unclear whether the Trustee intends “Tilton” to refer solely to defendant Lynn Tilton, or more generally
to all of the Defendants, we will address both potential circumstances herein.




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reports provided by the Collateral Managers that full stated interest was not being paid on certain
loans categorized as “performing.” After a multi-week trial in fall 2016, on September 27, 2017
ALJ Carol Fox Foelak issued a decision dismissing each and every claim brought by the SEC
against Ms. Tilton and the Collateral Managers in full (the “ALJ Decision”). No appeal was
taken by the SEC and the decision is now final.

        It is undisputed that Ms. Tilton, in her role as Manager of the Collateral Managers, had
the ability to amend and modify the terms of credit agreements to which the Zohar Funds were a
party and to defer and waive Zohar-related interest. 3 Neither Ms. Tilton nor the Collateral
Managers have asserted otherwise in this or any other case.

        In their Motion to Dismiss, the Defendants noted that defendant PPAS, the administrative
agent under the Credit Agreement between TransCare, the Zohar Funds and other lenders, could
not waive interest payments due from TransCare. In that regard, in Paragraph 30 of his
Complaint the Trustee wrongly alleges that PPAS, “could waive TransCare’s payment of
principal or interest.” Complaint ¶ 30. This is untrue and, accordingly, in their Motion to
Dismiss Defendants correctly asserted that PPAS could not waive interest, citing the relevant
section of the TransCare Credit Agreement. The Trustee apparently misread or misinterpreted
this statement regarding PPAS as an assertion that none of the 14 Defendants could waive any
interest under the TransCare Credit Agreement – including interest payments due to the Zohar
Funds.

        If anything, the Trustee’s judicial estoppel argument and his blanket reference to “Tilton”
brightly highlights the overriding problem with his Complaint: the improper and unwarranted
conflation of 14 separate Defendants with different corporate identities and forms, functions,
duties and obligations. 4 The inescapable flaw in the Trustee’s approach is that he fails to
recognize each Defendant stood in a different relationship to TransCare. The Trustee further
fails to recognize the different positions that Ms. Tilton herself held vis-à-vis TransCare (e.g.
Board member, Manager of the Collateral Managers, PPAS, PPMG, etc.) and that these different
positions had different rights, duties and obligations.

       This matters, because only 5 of the 14 Defendants – Ms. Tilton and the Collateral
Managers – were parties to the ALJ Proceeding. As a result, the Trustee wholly misrepresents
the consequences of the ALJ Decision as it relates to this case and to the TransCare Credit
Agreement. The ALJ Decision has no relation to the rights or conduct of (i) Defendants PPAS,
PPMG, Ark II, AIP, LD Investments, LLC, Patriarch Partners II, LLC, Patriarch Partners III,

3
 And, in fact, she did so to the benefit of TransCare. For example, on September 1, 2015, Ms. Tilton, in her role as
Manager of the Collateral Managers, caused the Zohar Funds and AIP to enter into an amendment to the Credit
Agreement that lowered the interest rates on those tranches of Loans for which AIP and the Zohar Funds were the
sole lenders. See Amendment No. 28 to the Credit Agreement, dated September 1, 2015.
4
  He does this even though, during oral argument on Defendants’ Motion to Dismiss, his counsel acknowledged that
the Trustee is not making an alter ego argument in this case. June 21, 2018 Hr’g Tr. at 30:19 – 30:25.
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LLC, Transcendence Transit and Transcendence Transit II – who were not parties to the ALJ
Proceeding; (ii) TransCare’s non-Zohar Fund lenders such as Credit Suisse Alternative Capital,
Inc. and First Dominion Funding I (the “Outside Lenders”), each of whom were parties to the
Credit Agreement and were neither controlled by nor affiliated with Ms. Tilton or the Collateral
Managers; or (iii) Wells Fargo, TransCare’s ABL lender who is similarly unaffiliated with Ms.
Tilton or the Collateral Managers.

         In order for judicial estoppel to apply, the party arguing for estoppel must typically show
that: (i) a party’s later position is “clearly inconsistent” with its earlier position; (ii) the party’s
former position has been adopted in some way by the court in the earlier proceeding; and (iii) the
party asserting the two positions would derive an unfair advantage against the party seeking
estoppel. New Hampshire v. Maine, 532 U.S. 742, 750-51, 121 S.Ct. 1808, 1815 (2001). The
Second Circuit has taken a fairly narrow view of the judicial estoppel doctrine, stating that
judicial estoppel is limited “to situations where the risk of inconsistent results with its impact on
judicial integrity is certain.” Uzdavines v. Weeks Marine, Inc., 418 F.3d 138, 148 (2d Cir. 2005)
(quoting Simon v. Safelite Glass Corp., 128 F.3d 68, 72 (2d Cir. 1997)). See also Chevron Corp.
v. Donzinger, 833 F.3d 74, 128 (2d Cir. 2016) (A court will not apply judicial estoppel where the
positions taken in a current and a prior proceeding “do not present an irreconcilable conflict.”)
(citation omitted).

        Here, Ms. Tilton and the Collateral Managers’ position in the ALJ Proceeding is not
“clearly inconsistent” with their position in this case. First, as stated above, no Defendant has
asserted that Ms. Tilton, in her role as Manager of the Collateral Managers, or the Collateral
Managers was without discretion to amend or modify the Credit Agreement or defer or waive
interest due thereunder insofar as it relates to the Zohar Funds. Second, 9 of the 14 Defendants
in this case were not even parties to the ALJ Proceeding and cannot be judicially estopped from
making any arguments in this case by virtue of positions taken by the parties to that proceeding,
which solely involved the Zohar Funds and their disclosures. The Trustee cannot invoke judicial
estoppel against these 9 Defendants absent a showing that they are in privity with the Collateral
Managers or Ms. Tilton, acting solely in her role as Manager of the Collateral Managers. The
Trustee has not and cannot make such a showing.

        Perhaps realizing that his claim of judicial estoppel is meritless, in his letter the Trustee
makes a new argument having nothing whatsoever to do with the ALJ Proceeding or estoppel.
In that regard, while conceding that “Tilton” could not waive the interest due to the Outside
Lenders (e.g., Credit Suisse and First Dominion) (Trustee’s Letter at 5), the Trustee nevertheless
argues that “Tilton could elect to . . . waive any Event of Default [including the failure to pay
interest], due to her control of the Required Lenders 5 under the Credit Agreement.” Id.
(emphasis added). The Trustee is wrong. Section 12.1(b) of the Credit Agreement provides in
relevant part:


5
    “Required Lenders” include Ark II, AIP and the Zohar Funds.
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         Neither this Agreement nor any other Loan Document, nor any terms hereof or
         thereof may be amended, supplemented or modified except in accordance with the
         provisions of this Section 12.1. The Required Lenders may, or, with the written
         consent of the Required Lenders . . . the Administrative Agent may . . . (b) waive .
         . . any of the requirements of this Agreement . . . or any Default or Event of
         Default and its consequences . . . provided, further, that no such waiver . . . shall
         (i) . . . reduce the stated rate of any interest . . . or extend the scheduled date of
         any payment thereof . . . in each case without the consent of each Lender
         affected thereby.

§ 12.1(b)(i)(emphasis in italics and bold added). “Lender” is defined to include the Outside
Lenders (e.g., Credit Suisse and First Dominion). 6 Accordingly, contrary to the Trustee’s
contention, neither the Required Lenders nor, Ms. Tilton, could waive an Event of Default
affecting the Outside Lenders without their consent. 7

        In short, judicial estoppel has no place here since no Defendant is arguing a position that
is contrary to a position that was taken and adopted in the ALJ Decision.



                                                                         Respectfully submitted,

                                                                         /s/ Michael T. Mervis

                                                                         Michael T. Mervis

cc:      Counsel of Record (by ECF)




6
  In fact, the emails the Trustee refers to in the Complaint confirm that neither the Required Lenders nor PPAS could
or did waive interest payments due on Loans involving the Outside Lenders. See Compl. ¶ 52 (“we have re-
approached the subject of interest payment today with the board. TransCare must pay interest today as PPMG (sic)
is not the only lender.”); see id. at ¶ 67 (referencing email chain in which Michael Greenberg instructs Glenn Leland
to issue an interest payment to PPAS because “the [Tilton-affiliated] funds are not the only lenders.”)
7
  And, of course, neither this new argument, nor the doctrine of judicial estoppel, is relevant to the Wells Fargo loan
facility, which obviously was not controlled by “Tilton.”
